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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

YU-PING DAVID OYOUNG
VS.
VALERUS Corporation
AND

Steve R. Gill
CEO / VALERUS Corporation

 

HOUSTON DIVISION

CIVIL ACTION NO.

PLAINTIFF’S EMPLOYMENT DISCRIMINATION COMPLAINT

I. This action is brought under Title VII of the Civil Rights Act of 1964 for

employment discrimination. Jurisdiction is conferred by Title 42 United States

Code. Section § 2000e-5.

2. The Plaintiff is:
County of Residence:

3. The Defendant is:

PARTIES

YU-PING DAVID OYOUNG is an individual residing in

 

Missouri City, Fort Bend County, Texas __

 

VALERUS Corporation
Has continuously been and is now Domestic

Business Corporation doing business in

Houston, TX. Defendant may be served via Certified
Mail, Return Receipt Requested to its

Registered agent, Steve R. Gill at 919 Milam Street
Suite 1000 Houston, TX 77002.

 

 

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The plaintiff has attached to this complaint a copy of the charges filed on
December 10, 2015 with the Equal Opportunity Commission.

On the date of Oct. 2, 2015, the plaintiff received a Notice of Right

to Sue letter issued by the Equal Employment Opportunity Commission;

a copy is attached.

6. Because of the plaintiffs:

(a)
(b)
(c)
(d)
(e)

O

O

race
age
Se
religion

national origin,

the defendant has:

(a)
(b)
(c)
(d)

division and manager

failed to employ the plaintiff
terminated the plaintiffs employment

failed to promote the plaintiff

other: Retaliate against the Plaintiff after EEOC complaint has

been filed to the Human Resource ‘s EEO policy enforcement

 

 

7. When and how the defendant has discriminated against the plaintiff:

 

 

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PLAINTIFF’S ORIGINAL COMPLAINT
TO THE HONORABLE JUDGE OF SAID COURT:

JURISDICTION AND VENUE

1. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 621 ef seq., and 28
U.S.C. § 1331. This suit is authorized and instituted pursuant to the Age Discrimination in
Employment Act The jurisdiction of this Court is invoked to secure protection of and to
redress depravation of rights secured by 29 U.S.C. § 621 ef seq. providing for relief against
discrimination on the basis of age in employment.

2. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. Section 1343 (4); 42
Section 2000e-5(f) and 28 U.S.C. Sections 2101 and 2102. This suit is authorized and
instituted pursuant to Title VII of the Act of Congress known as "The Civil Rights Act of
1964", 42 U.S.C. Sections 2000e ET. seq. The jurisdiction of this Court is invoked to secure
protection of and to redress depravation of rights secured by (a) 42 U.S.C. Section 2000¢
ET. seq. as amended by the Civil Rights Act of 1991, providing for relief against
discrimination in employment, as amended by the Civil Rights Act of 1991.
3. Venue is proper in the Court pursuant to 28 U.S.C. § 1391 in that the Plaintiff is a

resident of the district, the Defendant is doing business in the Houston Division, in this

district, and the activities giving rise to the Plaintiffs claim took place in this district.

4. The company has continuously and does now employee more than fifteen (15)
persons.
5. Since at least July 20, 2011, the company has continuously been and is now an

employer engaged in an industry affecting commerce within the meaning of§ 701 (b) (g) (h)
of Title VII, 42 U.S.C. Section 2000e (b) (g) (h).

6. Within 90 days of the occurrence of the acts which Plaintiff complains, a charge of
employment discrimination was filed with the Equal Employment Opportunity

Commission (EEOC) by Plaintiff herein on or about August 15, 2013, against the company.

 

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7. On or about Oct. 2, 2015, Plaintiff received a "Notice of Right to Suit" from the Texas
Commission on Human Rights acting as the investigative agency for the Texas has
continuously been and is now a Domestic Business Corporation doing business in Houston,

Texas. Defendant may be served via Certified Mail, Return Receipt Requested to its

Registered agent, Steve R. Gill at 919 Milam Street Suite 1000 Houston,

FIRST CLAIM FOR RELIEF
10. Plaintiff was an employee of Defendant. Plaintiff was employed by VALERUS
Corporation in Houston, Texas in June 25, 2012 as a Senior Manager of Process
Engineering.
11. Plaintiff performed his duties successfully as an employee of the Defendant up to the date of
his termination. July 23, 2013 as a Senior Manager of Process Engineering.

12. On or about July 23, 2013, Plaintiffs employment with Defendant was terminated by
Defendant.

13. Plaintiff was born on September 15, 1954 and was 59 years old at the time of his
termination.

14. Plaintiff is informed and believes and therefore alleges that Defendant replaced him in
the position, which he formerly held with Defendant with a younger employee that had less

experience than Plaintiff in the job.

15. The termination of Plaintiff by Defendant was because of Plaintiffs age, which violates
29 U.S.C § 623(a) (1) and therefore entitles Plaintiff to relief under the provisions of 29 U.S.C.
§626.

16. At all times relevant hereto, Defendant has enacted and effected policies and practices

of unlawful and systematic age discrimination against Plaintiff by inter alia:

(a) Failing to equalize conditions of employment for Plaintiff as contrasted with

comparably trained and qualified younger employees;

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(b) Adopting unreasonable, unwarranted and arbitrary standards and conditions of
employment and advancement designed to discriminate against Plaintiff in favor of

younger, but un-qualified employees.

17. The termination of Plaintiffs employment by Defendant constitutes a willful violation of
29 U.S.C. § 623 and as such entitles Plaintiff to recover triple damages.

SECOND CLAIM FOR RELIEF

18. Plaintiff was an Asian, national origin, Chinese employee of Defendant. Plaintiff was
employed by defendant, Valerus Corporation (or so called as Valerus Compression Services, LP. at
2012) In Houston, Texas in June 25, 2012 as a Senior Manager of Process.
19. At all times relevant hereto, Plaintiff has been discriminated against by Defendant with
Respect to compensation, terms, promotions, conditions, privileges, and opportunities of
employment and has been subject to those illegal acts, practices, and conduct alleged in this
Complaint.
20. At all times relevant hereto, Defendant has enacted and effected policies and practices
Of Unlawful and systematic exclusion of and discrimination against Plaintiff, because his age of
59, as an Asian American
By
Inter alia:
(a) Failing to equalize conditions of employment for Plaintiff as contrasted with Non-
Asian employees;
(b) Adopting unreasonable, unwarranted and arbitrary standards and conditions of
Employment and advancement designed to discriminate against Plaintiff in favor of
Non- Asian employees.

(c) Terminating Plaintiff because his age of 59, andhe is Asian, national origin, Chinese.

 

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DAMAGES

At the time of his discharge, Plaintiff earned a salary of approximately $159,500.00
per year, and included an expected 20-40% annual Bonus, which equaled approximately
$ 31,900.00 to $ 63,800.00, for a total of $191,400.00 to $ 223,300.00 yearly salary.

22. Plaintiff would show the court that he has suffered actual damages for lost back
Wages, insurance benefits, lost future wages, emotional pain and suffering,

Inconvenience, mental anguish and loss of enjoyment of life as a direct result of
Defendant's discriminatory employment practices described above.

23. Defendant intentionally inflicted extreme emotional distress upon Plaintiff by
Intentionally discharging Plaintiff on the basis of his age, national origin and race.
Plaintiff has suffered extreme emotional distress, embarrassment, severe disappointment,
Indignation, shame, despair, and public humiliation due to Defendant's discharge of

Plaintiff.

24. Plaintiffis entitled to recover his reasonable and necessary attorney’s fees pursuant to

29 U.S.C. § 626 and 42 U.S.C.
§2000e et seq.

25. Plaintiff demands a trial by jury with respect to all issues triable as of right by
jury.
WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that this Court:

Prays that judgment be entered against Defendant and in favor of Plaintiff:

(a) Order Defendant pay over to Plaintiff the damages suffered by Plaintiff by reason

of Defendant's illegal acts and practices, including adjusted back pay and front

pay, with interest, and additional amount as liquidated damages;

(b) Order Defendant pay Plaintiff damages for mental distress imposed upon on

Plaintiff through and as a result of the aforementioned discriminatory acts;

 

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(d) Order Defendant pay Plaintiff his attorney’s fees and costs and disbursements
incurred in the prosecution of this suit; and such other and further relief to

which Plaintiff may be justly entitled.

(e) Order Defendant to make up Plaintiff whole by providing appropriate back pay, with
Prejudgment interest in amounts to be determined at trial, and other affirmative relief
necessary to eradicate the effects of the unlawful employment practices he was

subjected to;

(f) Grant a permanent injunction enjoining Defendant, its officers, successors, assigns
and all persons in active concert or participation with it, from engaging in an

employment practice which discriminates on the basis of age;

(g) | Order Defendant to institute and carry out policies, practices and procedures which
provide equal employment opportunities for Mr. Oyoung with his age, race, and

national origin and which eradicates the effects of its unlawful employment practices;

26. Order Defendant to pay a total compensation for all of the above, but not limited

damage imposed upon Plaintiff is

 

U.S $ of 750,500 Dollars of Minimum

 

The plaintiff requests that the defendant be ordered:
(a) § to stop discriminating against the plaintiff
(b) a to employ the plaintiff
(c) a to re-employ the plaintiff

(d) a to promote the plaintiff

 

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(Signature of Plaintiff)

Address:

Telephone:

Respectfully submitted,

Yu-Ping David Oyoung_

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4506 Plantation Creek Dr.
Missouri City, Texas 77459_

 

§32-661-9092

PLAINTIFF

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EEOC Forms (19) Case 4:15-cv-03

 

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CHARGE OF DIS

 

 

 

 

 

 

 

RIMINATION Charge Presénted To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act [| FEPA
Statement and other information before completing this form.
EEOC 460-2013-03575
C Texas Workforce Commission Civil Rights Division and EEOC
State or local Agency, if any
Name (indicate Mr., Ms., Mrs.) Home Phone (inci. Area Code} Date of Birth
Mr. Yu-Ping D. Oyoung (713) 261-5436 09-15-1954
Street Address City, State and ZIP Code

4506 Plantation Creek, Missouri City, TX 77459

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code)
VALERUS COMPRESSION SERVICE 500 or More (713) 744-6100
Street Address City, State and ZIP Code

919 Milam Street, Suite 1000, Houston, TX 77020

 

 

 

 

 

Name No. Employees, Members Phone No. (Include Area Code)
Street Address City, State and ZIP Code
DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE

Earliest Latest

Cx RACE COLOR [| SEX [| RELIGION NATIONAL ORIGIN 06-25-2012 07-23-2013
RETALIATION AGE [ | DISABILITY [] GENETIC INFORMATION

OTHER (Specify) |] CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)):

I. | began my employment with this company on or about June 25, 2012 in the position of Manager of Process Engineering.
Around April/May of 2013, | applied and was denied a promotion to Director of Process Engineering. | asked Jeff Gill, HR
Director, about this matter but he provided no response. Instead, Jeff Lehr, who does not possess the qualifications for
said position in comparison to me, remained as Director of Process Engineering and Director of Applications. Around July
20, 2013, | spoke with Jud Morrison, Senior Vice President, alleging discrimination with respect to the denial of the
promotion, that Mr. Lehr is not qualified for this position and that Mr. Lehr gives me the wrong directions and then holds me
responsible. On or about July 23, 2013, | was terminated from my employment.

tl. Jerry Beck, HR Director, with Jenny Tang, HR Manager, and Mr. Lehr, present, informed me of my termination. Mr. Beck
stated that this was my last day and no other reasons or explanation was provided.

Wl. | believe | have been discriminated against because of my race, Asian, national origin, Chinese, color, dark-skinned, in
violation of Title VI of the Civil Rights Act of 1964, as amended, and my age, 59, in violation of the Age Discrimination in
Employment Act of 1967, as amended. Additionally, | believe | have been subjected to retaliation.

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

procedures. | swear or affirm that | have read the above charge and that it is true to

Peclare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

Gut (a4 Aya; f Ly oi,
Ci oof Z p iy Olting SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE S/. »f03
PUy gj : 7 mepth an ;
¥ 7 f i,

Lb. Ce G o

 

 

 
   
 

 
 
      

Aug 20, 2013
Date Charging Party Signature

, _ OLGACASTANEDA
MY COMMISSION EXPIRES

 

 

 

 

tober 30, 2016

   

 
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” EEOC Form 161 (11/09) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

Yu-Ping D. Oyoung From: Houston District Office
4506 Plantation Creek Mickey Leland Building
Missouri City, TX 77459 1919 Smith Street, 7th Floor

Houston, TX 77002

 

[| On behaif of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.

Sharon McElroy,
460-2013-03575 Investigator (713) 651-4949

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

 

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

WO HOU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title VIl, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the

alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

Uy Orf behalf of the Commission
L

     

Enclosures(s) ~ eith(T} Hill, (Date Mailed)
ing DistNct Director

ce:

Robyn M. Underwood

Corporate Counsel TWC-Civil Rights Division
Valerus Compression Service, LP 101 E. 15" St.
C 919 Milam Street, Suite 1000 Room 144T
Houston, TX 77002 Austin, TX 78778

 

 
